                       UNITED STATES DISTRICT COURT
                      EASTERN DISTRICT OF WISCONSIN
______________________________________________________________________________

NICOLE R. KRIZ,

                Plaintiff,
                                                            Case No. 20-cv-0339-bhl
       v.

UNITED STATES OF AMERICA,
BLUE CROSS BLUE SHIELD,

            Defendants.
______________________________________________________________________________

                                   ORDER
______________________________________________________________________________

       Based on the stipulation of the parties, IT IS HEREBY ORDERED that this action is

dismissed, with prejudice, with each party paying its own costs and fees.


       Dated at Milwaukee, Wisconsin on November 10, 2021.
                                                     s/ Brett H. Ludwig
                                                     BRETT H. LUDWIG
                                                     United States District Judge




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